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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BECKLEY

UNITED STATES OF AMERICA

v.                                            CRIMINAL NO. 5:03-00052-01

ROBERT COLVIN

                      MEMORANDUM OPINION AND ORDER

     Pending before the court is defendant's motion, brought

pursuant to 18 U.S.C. § 3582(c)(2), to reduce his sentence based

on a subsequent reduction in the applicable sentencing guideline.

On November 1, 2007, the United States Sentencing Guidelines were

amended to reduce by two levels the guidelines in Section 2D1.1

for cocaine base (also known as crack).          Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack

amendment retroactive, effective March 3, 2008.

     The court has received and considered the Original

Presentence Investigation Report (PSI), the Judgment and

Commitment Order and Statement of Reasons, addendum to the PSI

from the Probation Office, memoranda filed by defendant and the

United States, and other matters of record.           The court has also

considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

      Having reviewed the materials of record, the court has

determined that defendant's motion must be DENIED.             As defendant

concedes, he is not eligible for a reduction of his sentence
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because he was originally sentenced to 120 months in prison, the

mandatory minimum for his offense of conviction.                See U.S.S.G.

§ 1B1.10, Application Note 1(A).

     The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Order to defendant, counsel of record, the United

States Probation Office, and the United States Marshal for the

Southern District of West Virginia.

     It is SO ORDERED this 11th day of April, 2008.

                                         ENTER:



                                     David A. Faber
                                     United States District Judge




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